                                  EXHIBIT J

                               Example Voter File




Exhibit to Declaration of Hilary Harris Klein


     Case 1:23-cv-01104-TDS-JLW Document 41-10 Filed 10/04/24 Page 1 of 5
Case 1:23-cv-01104-TDS-JLW Document 41-10 Filed 10/04/24 Page 2 of 5
Case 1:23-cv-01104-TDS-JLW Document 41-10 Filed 10/04/24 Page 3 of 5
Case 1:23-cv-01104-TDS-JLW Document 41-10 Filed 10/04/24 Page 4 of 5
Case 1:23-cv-01104-TDS-JLW Document 41-10 Filed 10/04/24 Page 5 of 5
